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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

Brett Perloff
                                                         Civil Action No. 19-cv-09172-KSH-
                                           Plaintiff     CLW

vs.                                                      PRETRIAL SCHEDULING
                                                         ORDER
SoMo Audience Corp., Robert Manoff, and
Todd Houck

                                       Defendants

       THIS MATTER having come before the Court for a scheduling conference pursuant to
Rule 16 of the Federal Rules of Civil Procedure on July 29, 2019, and the parties having
reviewed the Court's Civil Case Management Order as well as the Local Civil Rules, and for
good cause shown,

       IT IS on this day o f ~

       ORDERED THAT the next event in this matter will be 4
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        FURTHER ORDERED that this matter will proceed as follows:


1.      Fact Discovery Deadline. Fact discovery is to remain open through October 28, 2019.
        All fact witnes·s depositions must be completed by the close of fact discovery. No
        discovery is to be issued or engaged in beyond that date, except upon application and for
        good cause shown.

2.      Motions to Add New Parties. Any motion to add new parties, whether by amended or
        third-party complaint, must be electronically filed no later than October 28, 2019.

3.      Motions to Amend Pleadings. Any motion to amend pleadings must be electronically
        filed no later than October 28, 2019.

4.      Rule 26 Disclosures. The parties shall exchange disclosures pursuant to Rule 26 no later
        than July 29, 2019.

5.      Interrogatories. The parties may serve interrogatories limited to twenty-five {25)
        single questions including subparts, on or before, which shall be responded to
        within thirty {30) days after service.

6.      Document Requests. The parties may serve requests for production of documents on or
        before NIA, which shall be responded to within thirty (30) days after service.
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7.    Depositions. The number of depositions to be taken by each side shall not exceed ten
      QQl.

8.    Electronic Discovery. The parties are directed to Rule 26(f), as amended, which, inter
      alia, addresses preservation of discoverable information, discovery of electronically stored
      information, and claims of privilege or work product protection. The parties are also
      directed to Local Civil Rule 26.1 (d) which describes the obligations of counsel with regard
      to their clients' information management systems.

9.    Discovery Disputes. Please refer to the Court's Civil Case Management Order.

10.   Motion Practice. Please refer to the Court's Civil Case Management Order.

11.   Expert Reports. All affirmative expert reports shall be delivered by October 28, 2019. All
      responsive expert reports shall be delivered by November 27, 2019. Depositions of all
      experts to be completed by December 27, 2019.

12.   Form and Content of Expert Reports. All expert reports must comport with the form
      and content requirements set forth in Rule 26(a)(2)(B). No expert shall testify at trial as
      to any opinions or base those opinions on facts not substantially disclosed in the expert's
      report.

13.   Extensions and Adjournments. Please refer to the Court's Civil Case Management
      Order.

14.   Protective Orders. Any proposed confidentiality order agreed to by the parties must
      strictly comply with Rule 26(c), Local Civil Rule 5.3, and applicable case law. Please also
      refer to the Court's Civil Case Management Order.

15.   Local Rules. The parties are directed to the Local Civil Rules for any other matter not
      addressed by this Order or the Court's Civil Case Management Order.

16.   FAILURE TO COMPLY WITH THE TERMS OF THIS ORDER OR ANY
      OTHER ORDERS WILL RESULT IN SANCTIONS.




                                            s/ Cathy L. Waldor
                                            CATHYL. WALDOR
                                            United States Magistrate Judge




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